Case 3:20-cv-07182-JCS Document 303 Filed 04/01/22 Page 1 of 42
             Case 3:20-cv-07182-JCS Document 303 Filed 04/01/22 Page 2 of 42




 1                                                  TABLE OF CONTENTS

 2                                                                                                                                   Page(s)

 3   I.     BRANDTOTAL IS NOT ENTITLED TO SUMMARY J UDGMENT ON ITS PUBLIC POLICY
            DEFENSE TO ITS BREACH OF SECTION 3.2.3 ................................................................ 3
 4
            A.         BrandTotal Identifies No Public Policy Requiring Platforms To Permit
 5                     The Automated Collection of Data..................................................................... 4
                       1.         Enforcement Of Section 3.2.3 Would Not Undermine Policy Of
 6
                                  Promoting Competition .......................................................................... 5
 7                     2.         Section 3.2.3 Does Not Contravene Any Policy On User
                                  Control Over Online Data ...................................................................... 6
 8
                       3.         Public Interest In Free Flow Of Information On The Internet
 9                                Does Not Justify Voiding Anti-Scraping Provision ................................. 8
10          B.         BrandTotal Has Not Met Its Burden To Demonstrate That Public’s
                       Strong Interests In Enforcing Contract Terms Are Outweighed......................... 10
11
                       1.         The Parties Expected That Section 3.2.3 Would Be Enforced ................ 10
12                     2.         The Public Interest Favors Enforcement ............................................... 11
13                     3.         Advertising Users Who Rely On The Anti-Scraping Provision
                                  Would Be Deprived Of That Benefit If Enforcement Were
14                                Denied................................................................................................. 15
15          C.         If There Is Any Doubt, BrandTotal’s Motion Must Be Denied Because
                       Of Its Reliance On Disputed Facts About Its Current Conduct .......................... 16
16
            D.         BrandTotal’s Argument That Section 3.2.3 Is Void For Public Policy Is
17                     Not A Defense To Meta’s Tortious Interference Claim..................................... 17
     II.    BRANDTOTAL’S UNCONSCIONABILITY DEFENSE FAILS AS A MATTER OF LAW......... 17
18
            A.         BrandTotal Waived Its Unconscionability Defense........................................... 18
19          B.         Meta’s Prohibition On Unauthorized Automated Data Collection Is Not
20                     Unconscionable .............................................................................................. 19
                       1.         The Parties’ Agreement Was Not Procedurally Unfair........................... 19
21
                       2.         Section 3.2.3 Is Not Substantively Unconscionable ............................... 22
22          C.         Unconscionability Of Section 3.2.3 Is Not A Defense To Meta’s
23                     Tortious Interference Claim............................................................................. 25
     III.   BRANDTOTAL IS NOT ENTITLED TO SUMMARY J UDGMENT UNDER THE CFAA AND
24          CDAFA WITH RESPECT TO UPVOICE 2021 AND ONGOING SERVER-SIDE COLLECTION
            .................................................................................................................................. 26
25
            A.         UpVoice 2021 Accesses Meta’s Computers ..................................................... 26
26
            B.         BrandTotal’s Server-Side Collection Violates The CFAA And CDAFA ........... 27
27

28
      Case No. 3:20-cv-07182-JCS                                      i                              META’S OPP. TO DEFS.’ MOT.
                                                                                                         FOR PARTIAL SUMM. J.
                Case 3:20-cv-07182-JCS Document 303 Filed 04/01/22 Page 3 of 42




 1                       1.        The CFAA And CDAFA Protect All Information, Not Just
                                   Password-Protected Information........................................................... 28
 2
                         2.        BrandTotal Continues To Scrape Password-Protected Locations ........... 29
 3   IV.       BRANDTOTAL IS NOT ENTITLED TO SUMMARY J UDGMENT ON META’S UCL CLAIM
 4             AS TO UPVOICE 2021 ................................................................................................ 31
               A.        BrandTotal Is Not Entitled To Judgment Regarding Its “Participating
 5                       Site” Misrepresentation ................................................................................... 31
 6             B.        Meta’s UCL Claim Is Not Limited To BrandTotal Misrepresenting
                         Facebook as a “Participating Site” ................................................................... 32
 7
     CONCLUSION ..................................................................................................................... 33
 8

 9
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
      Case No. 3:20-cv-07182-JCS                                    ii                          META’S OPP. TO DEFS.’ MOT.
                                                                                                    FOR PARTIAL SUMM. J.
                Case 3:20-cv-07182-JCS Document 303 Filed 04/01/22 Page 4 of 42




 1                                              TABLE OF AUTHORITIES

 2                                                                                                                         Page(s)
 3                                                               Cases
 4   Adkins v. Facebook, Inc.,
 5      2019 WL 3767455 (N.D. Cal. Aug. 9, 2019)................................................................19, 20

 6   Altschul v. Sabyle,
         83 Cal. App. 3d 153 (1978) ................................................................................................ 4
 7
     Asia Vital Components Co. v. Asetek Danmark A/S,
 8       377 F. Supp. 3d 990 (N.D. Cal. 2019)............................................................................... 18
 9   Bass v. Facebook, Inc.,
        394 F. Supp. 3d 1024 (N.D. Cal. 2019)............................................................................. 24
10

11   Beer Nuts, Inc. v. King Nut Co.,
        477 F.2d 326 (6th Cir. 1973) .............................................................................................. 9
12
     Bovard v. American Horse Enterprises, Inc.,
13      201 Cal. App. 3d 832 (1988) ................................................................................... 3, 11, 15
14   Brisbane Lodging, L.P. v. Webcor Builders, Inc.,
         216 Cal. App. 4th 1249 (2013) .................................................................................... 3, 5, 6
15

16   Britt v. ContextLogic, Inc.,
         2021 WL 1338553 (N.D. Cal. Apr. 9, 2021) ..................................................................... 21
17
     Circuit City Stores, Inc. v. Mantor,
18      335 F.3d 1101 (9th Cir. 2003) .......................................................................................... 19

19   Craigslist Inc. v. 3Taps Inc.,
        964 F. Supp. 2d 1178 (N.D. Cal. 2013)............................................................................. 29
20
     Craigslist, Inc. v. Naturemarket, Inc.,
21
        694 F. Supp. 2d 1039 (N.D. Cal. 2010)............................................................................. 23
22
     Darnaa, LLC v. Google LLC,
23      756 F. App’x 674 (9th Cir. 2018) ..................................................................................... 22

24   Dean Witter Reynolds, Inc. v. Superior Court of Alameda County,
        211 Cal. App. 3d 758 (1989) .......................................................................................21, 22
25
     Dunkin v. Boskey,
26     82 Cal. App. 4th 171 (2000).................................................................................... 3, 10, 11
27

28
      Case No. 3:20-cv-07182-JCS                                   iii                        META’S OPP. TO DEFS.’ MOT.
                                                                                                  FOR PARTIAL SUMM. J.
                Case 3:20-cv-07182-JCS Document 303 Filed 04/01/22 Page 5 of 42




 1   EF Cultural Travel BV v. Zefer Corp.,
        318 F.3d 58 (1st Cir. 2003) .............................................................................................. 29
 2
     Epic Games, Inc. v. Apple, Inc.,
 3      2021 WL 4128925 (N.D. Cal. Sept. 10, 2021)................................................................6, 24
 4
     Facebook Inc. v. Power Ventures, Inc.,
 5      844 F.3d 1058 (9th Cir. 2016) .....................................................................................27, 29

 6   Facebook, Inc. v. Power Ventures, Inc.,
        252 F. Supp. 3d 765 (N.D. Cal. 2017)............................................................................... 23
 7
     Facebook, Inc. v. Sluchevsky,
 8      2020 WL 5823277 (N.D. Cal. Aug. 28, 2020)..............................................................11, 23
 9   Fagerstrom v. Amazon.com, Inc.,
10      141 F. Supp. 3d 1051 (S.D. Cal. 2015) ............................................................................. 21

11   Ferguson v. Countrywide Credit Industries, Inc.,
        298 F.3d 778 (9th Cir. 2002) ............................................................................................ 25
12
     Golden Gate Way LLC v. Enercon Services, Inc.,
13      2021 WL 5407517 (N.D. Cal. Nov. 18, 2021)..................................................................3, 4
14   Food Safety Net Services v. Eco Safe Systems USA, Inc.,
15      209 Cal. App. 4th 1118 (2012) ......................................................................................... 24

16   Grand Prospect Partners, L.P. v. Ross Dress for Less, Inc.,
        232 Cal. App. 4th 1332 (2015) .............................................................................. 19, 22, 23
17
     Gregorie v. Alpine Meadows Ski Corp.,
18      2009 WL 2425960 (E.D. Cal. Aug. 7, 2009) ..................................................................... 17
19   Hadley v. Kellogg Sales Co.,
        273 F. Supp. 3d 1052 (N.D. Cal. 2017)........................................................................32, 33
20

21   Hill v. Westbrook’s Estate,
         247 P.2d 19 (Cal. 1952) ..............................................................................................16, 17
22
     hiQ Labs, Inc. v. LinkedIn Corp.,
23      938 F.3d 985 (9th Cir. 2019) ......................................................................................passim
24   Huynh v. Quora, Inc.,
        2019 WL 11502875 (N.D. Cal. Dec. 19, 2019) ................................................................. 24
25
     Idaho Potato Commission v. M&M Produce Farm & Sales,
26
        335 F.3d 130 (2d Cir. 2003) ............................................................................................... 9
27

28
      Case No. 3:20-cv-07182-JCS                                  iv                         META’S OPP. TO DEFS.’ MOT.
                                                                                                 FOR PARTIAL SUMM. J.
                Case 3:20-cv-07182-JCS Document 303 Filed 04/01/22 Page 6 of 42




 1   In re Marriage of Cauley,
         138 Cal. App. 4th 1100 (2006) ......................................................................................3, 10
 2
     In re Nexus 6P Products Liability Litigation,
 3       293 F.Supp.3d 888 (N.D. Cal. 2018)................................................................................. 20
 4
     Kelton v. Stravinski,
 5       138 Cal. App. 4th 941 (2006) ............................................................................................. 4

 6   Lanigan v. City of Los Angeles,
        199 Cal. App. 4th 1020 (2011) ....................................................................................20, 25
 7
     Lawman v. City & County of San Francisco,
 8      159 F. Supp. 3d 1130 (N.D. Cal. 2016)............................................................................. 18
 9   Lear, Inc. v. Adkins,
10      395 U.S. 653 (1969)........................................................................................................8, 9

11   Loewen v. Lyft, Inc.,
        129 F. Supp. 3d 945 (N.D. Cal. 2015)............................................................................... 21
12
     Manhattan Community Access Corp. v. Halleck,
13     139 S. Ct. 1921 (2019)....................................................................................................... 8
14   Maxim Crane Works, L.P. v. Tilbury Constructors,
15     208 Cal. App. 4th 286 (2012) ........................................................................................... 10

16   McIlwain LLC v. Berman,
        2020 WL 1308342 (N.D. Cal. Feb. 10, 2020)...................................................................... 4
17
     Moran v. Harris,
18     131 Cal. App. 3d 913 (1982) ...........................................................................................4, 8
19   Morris v. Redwood Empire Bancorp,
       128 Cal. App. 4th 1305 (2005) .............................................................................. 19, 20, 21
20

21   Muschany v. United States,
       324 U.S. 49 (1945)..........................................................................................................4, 5
22
     Nevarez v. Forty Niners Football Co., LLC,
23      2017 WL 3492110 (N.D. Cal. Aug. 15, 2017)................................................................... 21
24   Nguyen v. Barnes & Noble Inc.,
        763 F.3d 1171 (9th Cir. 2014) .......................................................................................... 20
25
     Niantic, Inc. v. Global++,
26
        2019 WL 8333451 (N.D. Cal. Sept. 26, 2019)................................................................... 23
27

28
      Case No. 3:20-cv-07182-JCS                                   v                           META’S OPP. TO DEFS.’ MOT.
                                                                                                   FOR PARTIAL SUMM. J.
                Case 3:20-cv-07182-JCS Document 303 Filed 04/01/22 Page 7 of 42




 1   Nissan Fire & Marine Insurance Co. v. Fritz Cos.,
        210 F.3d 1099 (9th Cir. 2000) .....................................................................................31, 32
 2
     Parada v. Superior Court of Orange County,
 3      176 Cal. App. 4th 1554 (2009 .......................................................................................... 20
 4
     People’s Choice Wireless, Inc. v. Verizon Wireless,
 5      131 Cal. App. 4th 656 (2005) ............................................................................................. 6

 6   Pinnacle Museum Tower Assn. v. Pinnacle Market Development (US), LLC,
        55 Cal. 4th 223 (2012) ................................................................................................19, 22
 7
     Planned Parenthood Federation of America, Inc. v. Center for Medical Progress,
 8      402 F. Supp. 3d 615 (N.D. Cal. 2019)............................................................................... 16
 9   Poublon v. C.H. Robinson Co.,
10      846 F.3d 1251 (9th Cir. 2017) .......................................................................................... 19

11   Prager University v. Google LLC,
        951 F.3d 991 (9th Cir. 2020) .............................................................................................. 8
12
     Rent-A-Center, West, Inc. v. Jackson,
13      561 U.S. 63 (2010)........................................................................................................... 23
14   Sanchez v. Valencia Holding Co.,
15      61 Cal. 4th 899 (2015) ..................................................................................................2, 19

16   Serpa v. California Surety Investigations, Inc.,
        215 Cal. App. 4th 695 (2013) ........................................................................................... 23
17
     Sheppard, Mullin, Richter & Hampton, LLP v. J-M Manufacturing Co.,
18      6 Cal. 5th 59 (2018) .................................................................................................... 4, 6, 7
19   Simulados Software, Ltd. v. Photon Infotech Private, Ltd.,
        40 F. Supp. 3d 1191 (N.D. Cal. 2014)............................................................................... 24
20

21   Swift v. Zynga Game Network, Inc.,
        805 F. Supp. 2d 904 (N.D. Cal. 2011)............................................................................... 21
22
     Tacori Enterprises v. Nerces Fine Jewelry,
23      2013 WL 12113229 (C.D. Cal. Sept. 20, 2013)................................................................... 9
24   United States ex rel. Green v. Northrop Corp.,
        59 F.3d 953 (9th Cir. 1995) .........................................................................................11, 13
25
     United States v. Nosal,
26
        844 F.3d 1024 (9th Cir. 2016) .....................................................................................27, 28
27

28
      Case No. 3:20-cv-07182-JCS                                    vi                          META’S OPP. TO DEFS.’ MOT.
                                                                                                    FOR PARTIAL SUMM. J.
                Case 3:20-cv-07182-JCS Document 303 Filed 04/01/22 Page 8 of 42




 1   United States v. Nosal,
        930 F. Supp. 2d 1051 (N.D. Cal. 2013)............................................................................. 26
 2
     Van Buren v. United States,
 3      141 S. Ct. 1648 (2021)............................................................................................ 2, 28, 29
 4
     Virginia State Board of Pharmacy v. Virginia Citizens Consumer Council, Inc.,
 5       425 U.S. 748 (1976)........................................................................................................... 8

 6   VL Systems, Inc. v. Unisen, Inc.,
        152 Cal. App. 4th 708 (2007) ............................................................................................. 4
 7
     Williams v. Gerber Products Co.,
 8       552 F.3d 934 (9th Cir. 2008) ............................................................................................ 31
 9   Yeti by Molly, Ltd. v. Deckers Outdoor Corp.,
10       259 F.3d 1101 (9th Cir. 2001) .......................................................................................... 18

11                                                  Statutes, Rules, Regulations

12   18 U.S.C. § 1030(a)(2)........................................................................................................... 26

13   Cal. Bus. & Prof. Code § 16600 ............................................................................................... 4
14   Cal. Civ. Code
         § 1798.100 ........................................................................................................................ 7
15
         § 1798.105 ........................................................................................................................ 7
16       § 1798.110 ........................................................................................................................ 7
         § 1798.115 ........................................................................................................................ 7
17       § 1798.125 ........................................................................................................................ 7

18   Cal. Penal Code § 502(c) ....................................................................................................... 26
19   California Privacy Rights Act (CPRA) ..................................................................................6, 7
20   Fed. R. Civ. P. 12 .................................................................................................................... 6
21
     Fed. R. Civ. P. 26(e) .............................................................................................................. 18
22
                                                       Constitutional Material
23
     U.S. Const. amend. I...........................................................................................................8, 17
24

25

26

27

28
      Case No. 3:20-cv-07182-JCS                                       vii                          META’S OPP. TO DEFS.’ MOT.
                                                                                                        FOR PARTIAL SUMM. J.
             Case 3:20-cv-07182-JCS Document 303 Filed 04/01/22 Page 9 of 42


 1          BrandTotal reaped the benefits of contracting with Meta Platforms and opening Facebook

 2   accounts, knowing full well that the contracts prohibited the very conduct that is the cornerstone

 3   of BrandTotal’s business: unauthorized data scraping from Facebook. BrandTotal made a

 4   conscious decision to build its business on violating that term, while actively taking advantage of

 5   its Facebook accounts to recruit panelists and attract customers. See Ex. 1 (Dor Jan. 13, 2021 Dep.

 6   Tr.) at 52:14-53:7. BrandTotal sought legal advice on the issue but proceeded to scrape data even

 7   after its lawyers advised it that its data harvesting operation violated, or risked violating, Meta’s

 8   terms. And there is no reason to doubt that it would have continued to do so indefinitely had Meta

 9   not discovered BrandTotal’s misconduct and initiated this lawsuit. Having enjoyed the benefits of

10   its bargain with Meta for years, BrandTotal now seeks to evade Meta’s prohibition against

11   automated scraping on the grounds that it violates public policy and is unconscionable. Neither

12   doctrine permits BrandTotal to void its contract with Meta now that its knowing violation of that

13   agreement has been uncovered.

14          First, BrandTotal’s public policy arguments fail. BrandTotal has not demonstrated that the

15   public interests in enforcement of the anti-scraping provision (both in general and specifically to

16   protect the integrity of Meta’s platform) are clearly outweighed by any express public policy

17   against enforcing that term. BrandTotal points to a wide range of highly generalized policy goals,

18   including promoting user control over their own data, competition, and the free flow of ideas. None

19   satisfy BrandTotal’s burden to show that an express policy requires websites to allow third parties

20   to scrape user data from the website for their own commercial gain. And BrandTotal entirely

21   ignores the strong interests that favor enforcement of provisions prohibiting automated collection,

22   which are an important and widespread tool for protecting websites and online platforms—one

23   used by BrandTotal itself. BrandTotal’s own conduct before and throughout this litigation

24   demonstrates why Section 3.2.3 and similar prohibitions on automated data collection are

25   necessary.

26          Second, BrandTotal cannot avoid liability for breach of contract on unconscionability

27   grounds. BrandTotal waived this defense by failing to adequately disclose it during fact discovery.

28   Regardless, it fails on the merits. BrandTotal cannot establish procedural unconscionability



     Case No. 3:20-cv-07182-JCS                       1                   META’S OPP. TO DEFS.’ MOT.
                                                                          FOR PARTIAL SUMM. J.
             Case 3:20-cv-07182-JCS Document 303 Filed 04/01/22 Page 10 of 42


 1   because the undisputed facts show that it was aware of Section 3.2.3 and still chose to sign up for

 2   Meta’s services. BrandTotal “cannot avoid a contractual obligation merely by complaining that

 3   the deal, in retrospect, was unfair or a bad bargain.” Sanchez v. Valencia Holding Co., 61 Cal. 4th

 4   899, 911-912 (2015). And BrandTotal does not even try to argue that Section 3.2.3—a common

 5   prohibition on scraping that, again, BrandTotal’s own terms included until it recently scrubbed

 6   them—is so harsh or one-sided that it shocks the conscience, as is required to establish substantive

 7   unconscionability. Instead, BrandTotal claims that it is unconscionable for that term to apply to

 8   former Facebook users by virtue of Section 4.2, a survival clause, when Meta limits its own

 9   liability under the contract. But BrandTotal is not a “former” Facebook user because it continues

10   to have active Facebook accounts. And, in any case, survival clauses and limitations of liability do

11   not shock the conscience. Indeed, BrandTotal itself includes both in its own terms.

12          Third, BrandTotal’s arguments under the CFAA and CDAFA also fail. BrandTotal

13   contends that UpVoice 2021 and BrandTotal’s server-side collection technique either do not access

14   Meta computers at all or do not access password-protected locations of those computers. But

15   BrandTotal’s own witnesses have admitted that UpVoice 2021 and BrandTotal’s server-side

16   collection technique access Meta’s computers within the meaning of the CFAA and CDAFA, and

17   it is legally irrelevant whether BrandTotal accesses password- or non-password protected

18   locations. BrandTotal fails to mention that the Ninth Circuit’s decision in hiQ Labs, Inc. v.

19   LinkedIn Corp., 938 F.3d 985 (9th Cir. 2019), on which it exclusively relies has since been vacated

20   and remanded, 141 S. Ct. 2752 (2021) (Mem.), in light of Van Buren v. United States, 141 S. Ct.

21   1648 (2021). Without that now-vacated decision, BrandTotal’s request for summary judgment

22   finds no support in the law. And because the record shows that both UpVoice 2021 and

23   BrandTotal’s server-side collection technique access and obtain information from Meta’s

24   computers without authorization to do so, the only judgment supported on the undisputed facts is

25   that BrandTotal has violated the CFAA and the CDAFA.

26          Finally, BrandTotal is not entitled to judgment on Meta’s claim under California’s unfair

27   competition claim (“UCL”) because BrandTotal has not met its burden of presenting evidence to

28   negate an essential element of Meta’s claim or otherwise show that Meta will be unable to carry



     Case No. 3:20-cv-07182-JCS                       2                  META’S OPP. TO DEFS.’ MOT.
                                                                         FOR PARTIAL SUMM. J.
             Case 3:20-cv-07182-JCS Document 303 Filed 04/01/22 Page 11 of 42


 1   its ultimate burden of persuasion at trial.

 2   I.     BRANDTOTAL IS NOT ENTITLED TO SUMMARY J UDGMENT ON ITS PUBLIC POLICY
            DEFENSE TO ITS BREACH OF SECTION 3.2.3
 3

 4          BrandTotal does not dispute—and indeed appears to concede—that it violated Facebook’s

 5   Terms of Service. 1 See Mot. 2 (conceding that UpVoice 2021 is impermissible under Section

 6   3.2.3); see also Dkt. 272 at 10-12 (Meta’s Mot. for Summ. J.) (explaining BrandTotal’s breach

 7   based on the undisputed facts). Instead, BrandTotal argues that it is entitled to summary judgment

 8   on its affirmative defense that Section 3.2.3 of Facebook’s Terms of Service is void for public

 9   policy. Mot. 14-30.

10          “‘The power of the courts to declare a contract void for being in contravention of sound

11   public policy is a very delicate and undefined power, and … should be exercised only in cases free

12   from doubt.’” Golden Gate Way LLC v. Enercon Servs., Inc., 2021 WL 5407517, at *9 (N.D. Cal.

13   Nov. 18, 2021) (citation omitted). A contract is void only if “legislation provides that it is

14   unenforceable or the interest in its enforcement is clearly outweighed in the circumstances by a

15   public policy against the enforcement of such terms.” Dunkin v. Boskey, 82 Cal. App. 4th 171, 174

16   (2000). As the party seeking to void the contract, BrandTotal bears the burden of demonstrating

17   that “its enforcement would be in violation of the settled public policy of this state.” Bovard v.

18   American Horse Enterprises, Inc., 201 Cal. App. 3d 832, 840 (1988) (emphasis added). In

19   evaluating that question, courts consider both “the public policy against enforcement” of the

20   contract term and whether that public policy clearly outweighs the countervailing “interest in

21   enforcement” of the term.” In re Marriage of Cauley, 138 Cal. App. 4th 1100, 1106 (2006) (citing

22   Restatement 2d Contracts § 178).

23          BrandTotal falls far short of meeting that “heavy burden.” Brisbane Lodging, L.P. v.

24   Webcor Builders, Inc., 216 Cal. App. 4th 1249, 1261 (2013). It identifies no express policy that

25

26   1 BrandTotal appears to make a public policy argument as to only the Facebook term prohibiting

27   automated collection (Section 3.2.3), and not as to the Instagram term. While its motion purports
     to define “Facebook” to refer to “Plaintiff Meta Platforms, Inc.,” BrandTotal’s argument discusses
28   only the Facebook Terms of Service, Section 3.2.3. It never cites nor addresses the Instagram
     Terms of Use or any provision therein.


     Case No. 3:20-cv-07182-JCS                      3                  META’S OPP. TO DEFS.’ MOT.
                                                                        FOR PARTIAL SUMM. J.
             Case 3:20-cv-07182-JCS Document 303 Filed 04/01/22 Page 12 of 42


 1   Section 3.2.3 violates, instead pointing only to general policy goals that are far too amorphous to

 2   override a contract. Nor has BrandTotal demonstrated that any of these vague policy goals can

 3   clearly outweigh the strong public interest in enforcement of Section 3.2.3—an interest that

 4   BrandTotal’s own conduct well illustrates. The Court should accordingly grant summary judgment

 5   on that defense in favor of Meta. See, e.g., Golden Gate Way LLC, 2021 WL 5407517, at *12.

 6          A.      BrandTotal Identifies No Public Policy Requiring Platforms To Permit The
                    Automated Collection of Data
 7

 8          A contractual provision is void for public policy only “if it is ‘[c]ontrary to an express

 9   provision of law’ or ‘[c]ontrary to the policy of express law, though not expressly prohibited.’”

10   Sheppard, Mullin, Richter & Hampton, LLP v. J-M Mfg. Co., 6 Cal. 5th 59, 73 (2018) (emphasis

11   added); see also Moran v. Harris, 131 Cal. App. 3d 913, 921 (1982) (“We may not encroach upon

12   the lawmaking branch of government in the guise of public policy unless the challenged

13   transaction is contrary to a statute or some well-established rule of law.”). BrandTotal’s own cases

14   demonstrate this requirement. For example, in VL Systems, Inc. v. Unisen, Inc., 152 Cal. App. 4th

15   708, 713-714 (2007), the Court found that a no-hire provision designed to prevent competitors

16   from soliciting a company’s employees was unenforceable based on the express statutory

17   command set forth in Cal. Bus. & Prof. Code § 16600 that “every contract by which anyone is

18   restrained from engaging in a lawful profession, trade, or business of any kind is to that extent

19   void.” Id. at 713 (quoting that statutory language).2

20          BrandTotal identifies no express statute or well-established rule of law that prohibits a ban

21   on automated data collection. Instead, it relies exclusively on several broad policy goals: “user

22   control over their data,” Mot. 15-18, “competition,” id. 18-22, and “the free flow of information,”

23   id. 22-26. That is not enough to meet BrandTotal’s burden. “Public policy is to be ascertained by

24   reference to the laws and legal precedents and not from general considerations of supposed public

25
     2 Kelton v. Stravinski, 138 Cal. App. 4th 941, 881 (2006), voided a covenant not to compete based
26
     on same statutory provision. Similarly, in Altschul v. Sabyle, 83 Cal. App. 3d 153 (1978), the court
27   held that an attorney-fee splitting contract violated public policy because it directly contravened
     an ethical canon from the American Bar Association that the State Bar had incorporated into its
28   Rules of Professional Conduct. See also McIlwain LLC v. Berman, 2020 WL 1308342 (N.D. Cal.
     Feb. 10, 2020) (same).


     Case No. 3:20-cv-07182-JCS                       4                  META’S OPP. TO DEFS.’ MOT.
                                                                         FOR PARTIAL SUMM. J.
             Case 3:20-cv-07182-JCS Document 303 Filed 04/01/22 Page 13 of 42


 1   interests.” Muschany v. United States, 324 U.S. 49, 66 (1945). “A party seeking to avoid

 2   enforcement of a contract on public policy grounds has the burden ‘to show that its enforcement

 3   would be in violation of the settled public policy of this state, or injurious to the morals of its

 4   people … [and BrandTotal] offers little insight into exactly which public policies would be

 5   violated by enforcement of [Section 3.2.3] under the facts and circumstances here.” Brisbane

 6   Lodging, 216 Cal. App. 4th at 1261. None of BrandTotal’s amorphous policy objectives establishes

 7   a policy against allowing a company to prohibit automated data scraping from its website. And

 8   none absolve BrandTotal of its contractual obligation to comply with Section 3.2.3.

 9                  1.      Enforcement Of Section 3.2.3 Would Not Undermine Policy Of Promoting
                            Competition
10

11           Next, BrandTotal argues that Section 3.2.3 is void because it “subverts the compelling

12   public interest in competition,” pointing generally to California’s antitrust laws. Again, BrandTotal

13   has not identified any express statutory provision, or policy of express law, that justifies voiding

14   this contract term. The State’s general interest in promoting competition does not invalidate Meta’s

15   prohibition against automated collection simply because BrandTotal designed its business to

16   depend on that automated collection.

17           As a preliminary matter, BrandTotal should not be heard to use its “public policy”

18   argument as a backdoor to revive its unfair competition claims, which the Court has dismissed

19   with prejudice. See Dkt. 23, 120, 161. Dkt. 178 at 18 (Order Granting Motion to Dismiss with

20   prejudice). In arguing (again) that Meta is extinguishing competition by failing to approve third-

21   party automated data collection, BrandTotal is attempting to resurrect the refusal to deal theory

22   that this Court has dismissed, see Dkt. 178. Mot. 20-21. The Court should reject that effort here as

23   well.

24           Moreover, for the same reasons that Meta’s alleged conduct did not amount to an antitrust

25   violation, Section 3.2.3 is not contrary to the State’s antitrust laws. As the Court previously

26   explained, “BrandTotal has failed to identify any legislatively declared policy related to

27   competition implicated by Facebook’s failure to grant BrandTotal permission to access advertising

28   data.” Dkt. 178 at 13; see also id. at 12 (“BrandTotal has not identified any legislatively declared



     Case No. 3:20-cv-07182-JCS                       5                   META’S OPP. TO DEFS.’ MOT.
                                                                          FOR PARTIAL SUMM. J.
             Case 3:20-cv-07182-JCS Document 303 Filed 04/01/22 Page 14 of 42


 1   policy related to competition implicated by Facebook’s alleged conduct.”). Having failed to meet

 2   even the liberal pleading standards under Rule 12 to bring a claim for unfair competition based on

 3   Meta’s enforcement of its terms, BrandTotal’s argument that Meta’s terms are unenforceable

 4   because the violate the public policy of promoting “competition” is no more successful. See e.g.,

 5   Epic Games, Inc. v. Apple, Inc., 2021 WL 4128925, at *122 (N.D. Cal. Sept. 10, 2021). Under

 6   California law, “the mere refusal to deal does not violate the spirit or policy of antitrust law.”

 7   People’s Choice Wireless, Inc. v. Verizon Wireless, 131 Cal. App. 4th 656, 667 (2005). To the

 8   contrary, the “right to refuse to deal remains sacrosanct.” Id. BrandTotal still has provided no basis

 9   for disregarding that right here.

10          Epic Games is illustrative. There, the Court declined to void provisions of a contract that

11   it found had not violated the antitrust laws. 2021 WL 4128925, at *122. Then, because it had found

12   that all but one provision of the licensing agreement at issue did not violate the antitrust laws, the

13   court rejected Epic Games’s “broad brush argument that it should not be bound by certain portions

14   of the agreement” on its theory that they “contravene[d] some established interest of society, in

15   the context of competition or otherwise.” Id. BrandTotal’s argument is even more of a stretch. In

16   Epic Games, the antitrust claims were permitted to go to a bench trial on the merits. Here,

17   BrandTotal’s UCL claim for unfair competition did not even survive a pleading challenge. Its

18   claim now that the provision prohibiting automated collection from Meta’s platform violates an

19   established policy on promoting competition when it could not even plead such a violation must

20   be rejected as a matter of law. See Brisbane, 216 Cal. App. 4th at 1261 (“A party seeking to avoid

21   enforcement of a contract on public policy grounds has the burden “‘to show that its enforcement

22   would be in violation of the settled public policy of this state[.]’” (citation omitted)).

23                  2.      Section 3.2.3 Does Not Contravene Any Policy On User Control Over
                            Online Data
24

25          BrandTotal first attempts and fails to justify invalidating Section 3.2.3 based on

26   California’s policy concerning “user control of online data,” as expressed in the California

27   Consumer Privacy Act (“CCPA”) and California Privacy Rights Act (“CPRA”). But BrandTotal

28   never points to any “express provision” or “policy of express law” contained in the statutes that



     Case No. 3:20-cv-07182-JCS                         6                  META’S OPP. TO DEFS.’ MOT.
                                                                           FOR PARTIAL SUMM. J.
Case 3:20-cv-07182-JCS Document 303 Filed 04/01/22 Page 15 of 42
             Case 3:20-cv-07182-JCS Document 303 Filed 04/01/22 Page 16 of 42


 1   specifically to obligations between the user and the platform. 4 As it has done throughout this

 2   litigation, BrandTotal elides the critical distinction between a user controlling its own data on a

 3   platform and BrandTotal’s ability to scrape that data in violation of Meta’s explicit terms.

 4          Ultimately, BrandTotal has not identified an explicit policy that would void a contractual

 5   term against the automated collection of data. Generalizations about “user control over data” are

 6   not enough. See Moran, 131 Cal. App. 3d at 919 (noting need for courts to exercise caution given

 7   that “‘public policy’ is a vague, somewhat troublesome and malleable expression”).

 8                  3.      Public Interest In Free Flow Of Information On The Internet Does Not
                            Justify Voiding Anti-Scraping Provision
 9

10          Finally, BrandTotal points to the public’s “profound interest in promoting and maintaining

11   the free flow of information,” citing the First Amendment, patent law, and Ninth Circuit’s now-

12   abrogated decision in hiQ. Mot. 22-26. None could justify invalidating a contractual term

13   preventing a method of data collection from a website.

14          To be sure, the First Amendment protects the “free flow of information.” But the First

15   Amendment accomplishes that objective in a specific way: restricting the government’s ability to

16   regulate speech. 5 For example, in Virginia State Bd. of Pharm. v. Virginia Citizens Consumer

17   Council, Inc., 425 U.S. 748 (1976), the Court concluded that a state’s ban on pharmacists

18   advertising prescription drug prices violated the First Amendment. While BrandTotal cherry-picks

19   language about the “strong interest in the free flow of commercial information,” that case does not

20   support the proposition that some generalized public interest in information flow supports

21   invalidating Section 3.2.3—a private restriction on automated data collection.

22          For similar reasons, Lear, Inc. v. Adkins, 395 U.S. 653, 674-675 (1969) and its progeny do

23
     4 Meta in fact has extensive data portability protocols and tools which allow users to control their
24
     own data. Ex. 3 (FB_BRTL_00019487) (Charting a Way Forward: Data Portability and
25   Privacy).

26
     5 The First Amendment constrains government actors. “[A] private entity … who opens its
     property for speech by others is not transformed by that fact alone into a state actor.” Manhattan
27   Comm. Access Corp. v. Halleck, 139 S. Ct. 1921, 1926 (2019); see also Prager Univ. v. Google
     LLC, 951 F.3d 991, 997 (9th Cir. 2020) (agreeing with courts that “have uniformly concluded that
28   digital internet platforms that open their property to user-generated content do not become state
     actors” and holding that YouTube is not a state actor).


     Case No. 3:20-cv-07182-JCS                       8                  META’S OPP. TO DEFS.’ MOT.
                                                                         FOR PARTIAL SUMM. J.
             Case 3:20-cv-07182-JCS Document 303 Filed 04/01/22 Page 17 of 42


 1   not bear the weight BrandTotal places on them. Those cases all address the enforceability of

 2   licensing provisions that preclude the licensee from challenging the validity of a patent or

 3   trademark. See id. (patent); see also Idaho Potato Commission v. M&M Produce Farm & Sales,

 4   335 F.3d 130 (2d Cir. 2003) (certification mark). They do not stand for a general proposition that

 5   some policy of freedom of expression outweighs the public interest in the enforcing contracts. The

 6   inquiry in Lear was “whether federal patent policy bars a State from enforcing a contract regulating

 7   access to an unpatented secret idea.” Lear, 359 U.S. at 672. Other courts in this Circuit have

 8   concluded that “Lear’s reasoning does not apply in other areas of law.” Tacori Enterprises v.

 9   Nerces Fine Jewelry, 2013 WL 12113229, at *2 n.4 (C.D. Cal. Sept. 20, 2013). To wit, one of the

10   cases BrandTotal cites as evidence that “[t]he Lear balancing approach has been applied to other

11   areas of intellectual property law as well,” Mot. 23, explicitly held that Lear did not apply in the

12   trademark context, because “the public interest in guarding against the depletion of the general

13   vocabulary available for the description of articles in commerce is not so great that it should take

14   precedence over the rule of the law of contracts that a person should be held to his undertakings,”

15   Beer Nuts, Inc. v. King Nut Co., 477 F.2d 326, 328-329 (6th Cir. 1973). BrandTotal has not and

16   cannot explain why the federal patent policy at issue in Lear would require Meta to allow third

17   parties to scrape data. Indeed, even if it were appropriate to generalize that balancing test to every

18   other area of law, that policy would at most support the idea that users can express themselves

19   freely—not that third parties must be allowed to scrape data from Facebook for commercial gain.

20   And that is especially true here, because, according to BrandTotal, the “free flow of commercial

21   information” extends only so far as BrandTotal’s scraping the information from Facebook. From

22   that point, the information does not flow freely at all; it flows only to those that pay BrandTotal

23   for the “analytics” that BrandTotal offers based on the data it has taken from Facebook, Instagram,

24   Google, Amazon, and others.

25          While BrandTotal relies on this Court’s TRO Order citing to the now-abrogated hiQ

26   opinion for the proposition that the public has “a strong public interest in maximizing the free flow

27   of information,” Mot. 23, that case actually reiterated that platforms could prevent data scraping

28   through enforcement of their own contract rights. After holding that the CFAA provided no remedy



     Case No. 3:20-cv-07182-JCS                        9                  META’S OPP. TO DEFS.’ MOT.
                                                                          FOR PARTIAL SUMM. J.
             Case 3:20-cv-07182-JCS Document 303 Filed 04/01/22 Page 18 of 42


 1   against scraping under the facts of that case (which are different from those here), the Ninth Circuit

 2   in hiQ emphasized that “victims of data scraping” could still protect themselves using “other

 3   causes of action, such as … breach of contract.” 938 F.3d at 1004, vacated and remanded, 141 S.

 4   Ct. 2752 (2021). To read that decision to support voiding such a contract term would thus turn the

 5   court’s analysis on its head.

 6           B.     BrandTotal Has Not Met Its Burden To Demonstrate That Public’s Strong
                    Interests In Enforcing Contract Terms Are Outweighed
 7

 8           BrandTotal also fails to show as a matter of law that the interests in enforcement of this

 9   contractual term are clearly outweighed by any of the purported public policies it identifies in its

10   motion. “Courts will examine the interest in enforcement of a contract term, taking into account

11   ‘the parties’ justified expectations, ... any forfeiture that would result if enforcement were denied,

12   and ... any special public interest in the enforcement of the particular term.’” In re Marriage of

13   Cauley, 138 Cal. App. 4th at 1106 (citing Restatement 2d Contracts § 178(1)). Those factors all

14   counsel against finding Meta’s terms void for public policy and BrandTotal has failed as a matter

15   of law to show otherwise.

16           1.     The Parties Expected That Section 3.2.3 Would Be Enforced

17           The parties’ expectations weigh in favor of enforcement because BrandTotal simply cannot

18   show that it had any “justifiable expectations” that Section 3.2.3 would not be enforced. In re

19   Marriage of Cauley, 138 Cal. App. 4th at 1106. “The basic policy in the field of contracts is

20   protection of the justified expectations of the parties. Parties will generally enter into a contract

21   with the expectation that the provisions of the contract will be binding on them.” Maxim Crane

22   Works, L.P. v. Tilbury Constructors, 208 Cal. App. 4th 286, 291 (2012). Remarkably here, there

23   is clear evidence that BrandTotal expected to be bound by the Section 3.2.3. In 2019, it sought and

24   received a legal opinion about Facebook’s terms and was told that “any data collected, using

25   automated means, from what is defined products, cannot be collected.” Ex. 4 (BT0001854) at

26   1856.

27           It would be especially brazen for BrandTotal to suggest it did not expect to be bound by its

28   contract with Facebook where BrandTotal benefited from its contracts with Meta. See Dunkin, 82



     Case No. 3:20-cv-07182-JCS                       10                  META’S OPP. TO DEFS.’ MOT.
                                                                          FOR PARTIAL SUMM. J.
             Case 3:20-cv-07182-JCS Document 303 Filed 04/01/22 Page 19 of 42


 1   Cal. App. 4th at 191 (concluding that “respondent had the benefit of appellant’s contractual

 2   obligation to care for and support the child” so the court could not “now countenance her

 3   repudiation of appellant’s rights under the agreement”). BrandTotal created and operated multiple

 4   Facebook Pages and an Instagram account for years, which it used to recruit panelists and attract

 5   customers. See Dkt. 23 ¶ 6 (admitting that BrandTotal “promot[ed]” its products through its

 6   Facebook profiles); Ex. 5 (admitting BrandTotal used Facebook to promote its application); Ex. 1

 7   (Dor Jan. 13, 2021 Dep. Tr.) at 52:14-53:7. Having secured the benefit of its bargain, BrandTotal

 8   now conveniently seeks to avoid its obligations under its agreement with Meta by voiding its

 9   contract. Public policy supports enforcement of contracts and the parties’ settled expectations

10   precisely to avoid this sort of opportunism. See Dunkin, 82 Cal. App. 4th at 191. BrandTotal’s

11   public policy defense should be rejected on this basis alone.

12          2.      The Public Interest Favors Enforcement

13          The public interest also weighs in favor of enforcement. To determine the public’s interest

14   in enforcement of a contract term, courts also must “look more broadly than to the facts of this

15   case.” United States ex rel. Green v. Northrop Corp., 59 F.3d 953, 967 (9th Cir. 1995). Here,

16   because Meta’s anti-scraping provision applies to all Meta’s users, and not only BrandTotal and

17   its interest in its so-called “advertising intelligence,” there is a strong public interest in its

18   enforcement that BrandTotal has failed to show is outweighed by any contrary public policy. As a

19   general matter, the public has a strong interest in the established principle that contracts are

20   enforceable. Bovard, 201 Cal. App. 3d at 838-839 (“[P]ublic policy requires and encourages the

21   making of contracts by competent parties upon all valid and lawful considerations, and courts so

22   recognizing have allowed parties the widest latitude in this regard; and, unless it is entirely plain

23   that a contract is violative of sound public policy, a court will never so declare.”). That interest

24   alone would warrant rejecting BrandTotal’s motion.

25          But even beyond that general interest, there is a more specific public interest at play:

26   “Facebook’s ability to decisively police the integrity of its platforms is without question a pressing

27   public interest.” Facebook, Inc. v. Sluchevsky, 2020 WL 5823277, at *9 (N.D. Cal. Aug. 28, 2020)

28   (quoting Stackla, Inc. v. Facebook Inc., 2019 WL 4738288, at *6 (N.D. Cal. Sept. 27, 2019)); see



     Case No. 3:20-cv-07182-JCS                       11                  META’S OPP. TO DEFS.’ MOT.
                                                                          FOR PARTIAL SUMM. J.
               Case 3:20-cv-07182-JCS Document 303 Filed 04/01/22 Page 20 of 42


 1   also Dkt. 63 at 30 (finding “a significant public policy supports allowing Facebook to police

 2   automated access to password-protected platforms”). BrandTotal dismisses the public’s interest in

 3   enforcing the prohibition against unauthorized automated collection out-of-hand. Mot. 27-30. But

 4   it cannot be set aside as easily as BrandTotal would like. The prevalence of terms prohibiting

 5   automated collection demonstrate the enormous public interest in protecting platforms like

 6   Facebook and Instagram. See e.g., Ex. 6, YouTube, Terms Of Service; Ex. 7, Amazon, Conditions

 7   Of Use; and Ex. 8, LinkedIn, LinkedIn Service Terms; see also Ex. 9 (Thaw Rep.) at 10 n.48

 8   (collecting entities, including Twitter, United States Congress, and the New York Times, that

 9   prohibit automated collection). The federal courts’ docketing system prohibits misuse on its

10   website, including “using an automated process to repeatedly access those portions of the PACER

11   application that do not assess a fee (i.e., calendar events report or case header information) for

12   purposes of collecting case information.” Ex. 10, PACER, Policy & Procedures. And BrandTotal’s

13   own terms prevented the automated collection of data from its website until February 23, 2022,

14   when it apparently decided to remove that term given its litigation posture here. Compare Ex. 11

15   (BrandTotal, June 2018 Terms and Conditions, FB_BRTL_00025352) (“You may not … use or

16   launch any automated system (including without limitation, ‘robots’ and ‘spiders’) to access the

17   Site”),     with     Ex.     12    (BrandTotal,    Feb.     2022     Terms      and     Conditions,

18   https://privacy.brandtotal.com/service_terms.pdf).

19             There are good reasons why platform companies like Meta and others that operate websites

20   include anti-scraping provisions in their terms. Scraping presents a serious concern for its users,

21   their security, and the security of Meta’s platforms. Ex. 13 (Oct. 21, 2020 Clark Decl.) ¶ 6; see

22   also Ex. 9 (Thaw Rep.) at 15-24 (summarizing risks and harms associated with BrandTotal’s

23   conduct). Scraping can circumvent restrictions websites put in place and adversely impact the

24   website’s integrity; it can make it easier to deploy coordinated inauthentic behavior; it degrades

25   public trust and confidence; it can target personal and private data as well as content protected by

26   copyright; it disassociates content from the user; and it undermines the integrity of the network by

27   limiting the functionality of the network. Ex. 13 (Oct. 21, 2020 Clark Decl.) ¶ 5(a)-(g). To help

28   mitigate these risks, Meta prohibits automated scraping of data from its platforms and makes



     Case No. 3:20-cv-07182-JCS                        12                META’S OPP. TO DEFS.’ MOT.
                                                                         FOR PARTIAL SUMM. J.
Case 3:20-cv-07182-JCS Document 303 Filed 04/01/22 Page 21 of 42
Case 3:20-cv-07182-JCS Document 303 Filed 04/01/22 Page 22 of 42
Case 3:20-cv-07182-JCS Document 303 Filed 04/01/22 Page 23 of 42
Case 3:20-cv-07182-JCS Document 303 Filed 04/01/22 Page 24 of 42
             Case 3:20-cv-07182-JCS Document 303 Filed 04/01/22 Page 25 of 42


 1   Westbrook’s Estate, 247 P.2d 19, 21 (Cal. 1952) (holding that when the facts surrounding the

 2   parties’ decision to enter into a contract were in dispute, that was a question for the jury); see also

 3   Gregorie v. Alpine Meadows Ski Corp., 2009 WL 2425960, at *17 (E.D. Cal. Aug. 7, 2009), aff’d,

 4   405 F. App’x 187 (9th Cir. 2010) (holding that non-moving party had not presented evidence that

 5   a ski resort boundary was within Forest Service land such that a statutory provision applied to

 6   make a waiver unenforceable). Because BrandTotal’s public policy defense fails as a matter of

 7   law, Meta, and not BrandTotal, is entitled to summary judgment. But at a minimum, because

 8   BrandTotal has premised its public policy defense on disputed facts, its motion for summary

 9   judgment should be denied.

10          D.      BrandTotal’s Argument That Section 3.2.3 Is Void For Public Policy Is Not A
                    Defense To Meta’s Tortious Interference Claim
11

12          BrandTotal contends that its public policy defense also entitles it to summary judgment on

13   Meta’s tortious interference with contract claim “to the extent” that claim is “based on violation

14   of” Section 3.2.3. Mot. at 1. But even if BrandTotal’s public policy defense had merit (it does not),

15   the defense would not be sufficient to grant summary judgment in favor of BrandTotal. Section

16   3.2.3 is the only term that BrandTotal claims is void for public policy but Meta’s tortious

17   interference with contract claim is premised on BrandTotal’s violation of other terms as well. See

18   Dkt. 148 ¶ 114 (Meta’s First Amendment Complaint) (citing provision in Facebook Terms of

19   Service under which Facebook users agree to “[n]ot share [their] password, give access to [their]

20   Facebook account to others, or transfer [their] account to anyone else (without [Facebook’s]

21   permission)”); Ex. 27 at 12-15 (Nov. 19, 2021 Meta Response to Rog 21). Therefore, even if

22   Section 3.2.3 were void (it is not), it would not entitle BrandTotal to summary judgment on Meta’s

23   tortious interference claim.

24   II.    BRANDTOTAL’S UNCONSCIONABILITY DEFENSE FAILS AS A MATTER OF LAW

25          BrandTotal designed its business with full knowledge that it violated Section 3.2.3. Now,

26   it seeks to avoid the consequences of its decision by arguing that Section 3.2.3 is unconscionable.

27   This argument fails as a matter of law for three reasons: (1) BrandTotal waived the defense; (2) the

28   defense fails on the merits because BrandTotal has the burden to establish both procedural and



     Case No. 3:20-cv-07182-JCS                        17                  META’S OPP. TO DEFS.’ MOT.
                                                                           FOR PARTIAL SUMM. J.
             Case 3:20-cv-07182-JCS Document 303 Filed 04/01/22 Page 26 of 42


 1   substantive unconscionability and has established neither; and (3) BrandTotal’s unconscionability

 2   arguments cannot entitle BrandTotal to summary judgment on Meta’s tortious interference with

 3   contractual relations claim because that claim does not depend on Section 3.2.3.

 4          A.      BrandTotal Waived Its Unconscionability Defense

 5          BrandTotal waived its unconscionability argument by failing to raise it in response to

 6   Meta’s contention interrogatory. BrandTotal was required to, but did not, identify

 7   unconscionability as an affirmative defense in response to Meta’s interrogatory seeking the

 8   complete basis for BrandTotal’s contention that it did not breach any contracts with Meta. See Ex.

 9   28 (Oct. 21, 2021 Response to Meta Interrogatories) at 9-12 (identifying only two defenses: (1)

10   Meta’s decision to disable some of its accounts relieved BrandTotal of its contractual obligations;

11   and (2) the provisions that BrandTotal continues to breach are void as a matter of public policy).

12   Nor did BrandTotal correct or supplement its responses, which Rule 26(e) requires a party to do

13   “as theories mature and as the relevance of various items of evidence changes.” See Fed. R. Civ.

14   P. 26(e); see Asia Vital Components Co. v. Asetek Danmark A/S, 377 F. Supp. 3d 990, 1004 (N.D.

15   Cal. 2019) (it is “particularly” necessary that contention interrogatories “be corrected or

16   supplemented”). BrandTotal cannot now attempt to introduce additional defenses that it failed to

17   disclose during discovery. See, e.g., Lawman v. City & County of San Francisco, 159 F. Supp. 3d

18   1130, 1141 (N.D. Cal. 2016) (declining to consider theory not identified in interrogatory response

19   and denying motion for summary judgment as to that theory). 7 It is BrandTotal’s burden to prove

20   that this failure was substantially justified or harmless, and BrandTotal has done nothing to meet

21   that burden. See Yeti by Molly, Ltd. v. Deckers Outdoor Corp., 259 F.3d 1101, 1107 (9th Cir. 2001)

22   (citing Fed. R. Civ. P. 37(c)(1)).

23

24

25

26
     7
      BrandTotal identified unconscionability as a basis for its own tortious interference with contract
27   claim, see Ex. 29 (Nov. 19, 2021 Response to Meta Interrogatories) at 6, but that did not put Meta
28   on notice that BrandTotal would raise unconscionability as a defense to any of Meta’s claims. To
     the contrary, BrandTotal’s decision to rely on the doctrine for its counterclaims and specifically to
     omit the defense from its contentions on Meta’s affirmative claims actually cuts the other way.

     Case No. 3:20-cv-07182-JCS                       18                  META’S OPP. TO DEFS.’ MOT.
                                                                          FOR PARTIAL SUMM. J.
             Case 3:20-cv-07182-JCS Document 303 Filed 04/01/22 Page 27 of 42


 1          B.      Meta’s Prohibition On Unauthorized Automated Data Collection Is Not
                    Unconscionable
 2

 3          If the Court were to consider BrandTotal’s unconscionability defense, it should reject it on

 4   the merits. To invalidate Section 3.2.3, BrandTotal has the burden to establish that the term is both

 5   procedurally and substantively unconscionable. See Poublon v. C.H. Robinson Co., 846 F.3d 1251,

 6   1260 (9th Cir. 2017) (the party opposing enforcement “must demonstrate that the contract as a

 7   whole or a specific clause in the contract is both procedurally and substantively unconscionable”).

 8   It has established neither. Unconscionability is a “‘safety valve’ to prevent gross injustice.” Morris

 9   v. Redwood Empire Bancorp, 128 Cal. App. 4th 1305, 1316 (2005). It does not permit a party to

10   “avoid [its] contractual obligation merely by complaining that the deal, in retrospect, was unfair

11   or a bad bargain.” Sanchez v. Valencia Holding Co., LLC, 61 Cal.4th 899, 911-12 (2015).

12                  1.      The Parties’ Agreement Was Not Procedurally Unfair

13          Procedural unconscionability “focuses on ‘oppression or surprise due to unequal

14   bargaining power.’” Poublon, 846 F.3d at 1260 (quoting Pinnacle Museum Tower Assn. v.

15   Pinnacle Mkt. Dev. (US), LLC, 55 Cal. 4th 223, 246 (2012)). “[C]ourts evaluating procedural

16   unconscionability must consider the totality of the circumstances surrounding the negotiation and

17   formation of the contract, giving particular consideration to factors that affect the presence of

18   oppression or the absence of a meaningful choice.” Grand Prospect Partners, L.P. v. Ross Dress

19   for Less, Inc., 232 Cal. App. 4th 1332, 1349 (2015); see also Circuit City Stores, Inc. v. Mantor,

20   335 F.3d 1101, 1106 (9th Cir. 2003) (the court “must evaluate how the parties negotiated the

21   contract and ‘the circumstances of the parties at that time.’”) (citation omitted). The circumstances

22   of BrandTotal and Meta’s agreement—which BrandTotal’s brief entirely ignores—do not reflect

23   the “absence of a meaningful choice.” Instead, they reflect BrandTotal’s deliberate choice to get

24   the benefit of the bargain for as long as it could, and then, when caught violating them, seek to

25   repudiate its terms.

26          First, BrandTotal was not “surprised” by Section 3.2.3, the term that it now challenges. Far

27   from it. “‘Unfair surprise results from misleading bargaining conduct or other circumstances

28   indicating that party’s consent was not an informed choice.’” Adkins v. Facebook, Inc., 2019 WL



     Case No. 3:20-cv-07182-JCS                       19                  META’S OPP. TO DEFS.’ MOT.
                                                                          FOR PARTIAL SUMM. J.
Case 3:20-cv-07182-JCS Document 303 Filed 04/01/22 Page 28 of 42
             Case 3:20-cv-07182-JCS Document 303 Filed 04/01/22 Page 29 of 42


 1   expect”). That is not the relevant question, but even if it were, BrandTotal would still fail to

 2   establish any element of surprise. Meta’s sign-up process is transparent. Every user who signs up

 3   for a Facebook account sees that they must agree to the terms prior to signing up for an account.

 4   See Ex. 30 (Leibovich Nov. 9, 2021 Dep. Tr.) at 20:11-22:11; Ex. 31 (BrandTotal Nov. 19, 2021

 5   Response to RFA No. 21) at 3. The notice is provided in a dark grey font in a legible size. See Ex.

 6   18 (Martens Opening Rep.) ¶ 64. Meta requires any individual who signs up for a Facebook

 7   account to acknowledge that it is agreeing to Meta’s Terms of Service, Data Policy, and Cookies

 8   Policy. Id. ¶ 66. Each of the terms is linked on Facebook’s Sign-Up page. Id.

 9          BrandTotal claims that this sign-up process does not provide sufficient notice because there

10   is no “separate box that users must check to signify their affirmative agreement to the TOS.” Mot.

11   31. But courts routinely conclude that sign-up flows like Meta’s are sufficient to bind users to

12   terms of service. See, e.g., Britt v. ContextLogic, Inc., 2021 WL 1338553, at *3-5 (N.D. Cal. Apr.

13   9, 2021); Nevarez v. Forty Niners Football Co., LLC, 2017 WL 3492110, at *8 (N.D. Cal. Aug.

14   15, 2017); Loewen v. Lyft, Inc., 129 F. Supp. 3d 945, 957 (N.D. Cal. 2015); Fagerstrom v.

15   Amazon.com, Inc., 141 F. Supp. 3d 1051, 1069 (S.D. Cal. 2015), aff’d sub nom. Wiseley v.

16   Amazon.com, Inc., 709 F. App’x 862 (9th Cir. 2017); Swift v. Zynga Game Network, Inc., 805 F.

17   Supp. 2d 904, 911-12 (N.D. Cal. 2011). BrandTotal cites no case holding otherwise.8

18          Second, BrandTotal’s agreement to the Facebook Terms did not involve any oppression

19   because BrandTotal could have avoided the Terms by obtaining services elsewhere. Even a

20   contract of adhesion is not oppressive when reasonable alternatives exist. See Morris, 128 Cal.

21   App. 4th at 1320. A contract is oppressive only where one party lacks a meaningful choice about

22   both the terms of the agreement and whether to enter into the agreement at all. Id. “[T]he existence

23   of a ‘meaningful choice’ to do business elsewhere … tend[s] to defeat any claim of oppression.”

24

25   8 Nor is the text informing users of Meta’s terms confusing. It states: “By clicking Sign Up, you

26   agree to our Terms, Data Policy and Cookies Policy. You may receive SMS notices from us and
     can opt out any time.” Dkt. 267-5 (Ex. F to BrandTotal’s Mot. for Summ. J.) ¶ 66. BrandTotal
27   asserts that the second sentence “confusingly suggests that the user ‘can opt out any time’ from
     the ‘Terms, Data Policy and Cookies’ referenced in the prior sentence.” Mot. at 32. That is not a
28   serious argument. And even if it were, BrandTotal does not claim that it was confused by the fine
     print, which is the relevant question for the unconscionability analysis.


     Case No. 3:20-cv-07182-JCS                      21                  META’S OPP. TO DEFS.’ MOT.
                                                                         FOR PARTIAL SUMM. J.
Case 3:20-cv-07182-JCS Document 303 Filed 04/01/22 Page 30 of 42
             Case 3:20-cv-07182-JCS Document 303 Filed 04/01/22 Page 31 of 42


 1   harsh, so one-sided as to shock the conscience, and unreasonably favorable to the more powerful

 2   party.” Grand Prospect Partners, 232 Cal. App. 4th at 1349 (internal quotation marks omitted).

 3   And where “the degree of procedural unconscionability is low,” an agreement is enforceable

 4   “unless the degree of substantive unconscionability is high.” See Serpa v. Cal. Surety

 5   Investigations, Inc., 215 Cal. App. 4th 695, 704 (2013) (citation omitted). BrandTotal has not met

 6   this demanding standard.

 7          As an initial matter, BrandTotal does not challenge Section 3.2.3 itself. Instead, it argues

 8   that Section 3.2.3 is substantively unconscionable because a different provision (Section 4.2)

 9   makes certain terms (including Section 3.2.3) apply to former Facebook users and yet another

10   provision (Section 4.3) limits the amount that Meta can be liable in damages. Because BrandTotal

11   has not directly challenged Section 3.2.3, the Court should find the provision valid and

12   enforceable. See Rent-A-Center, West, Inc. v. Jackson, 561 U.S. 63, 72-74 (2010) (declining to

13   assess party’s arguments over unconscionability because they were not tailored specifically to the

14   challenged provision).

15          BrandTotal takes this indirect approach to attacking Section 3.2.3 because it cannot

16   credibly argue that Section 3.2.3 itself is substantively unconscionable. BrandTotal’s own terms

17   included a ban on automated data collection, at least until the beginning of this litigation. Ex. 11

18   (FB_BRTL_00025352). That is not surprising because bans on unauthorized automated data

19   collection are common and have been routinely upheld by California courts. See, e.g., Niantic, Inc.

20   v. Global++, 2019 WL 8333451, at *7 (N.D. Cal. Sept. 26, 2019) (granting preliminary injunction

21   based on scraping in violation of terms of service); Craigslist, Inc. v. Naturemarket, Inc., 694 F.

22   Supp. 2d 1039, 1069 (N.D. Cal. 2010) (granting permanent injunction). And with respect to Meta’s

23   terms in particular, courts in this District have held that it serves the public—which includes Meta’s

24   users—to enforce prohibitions against unauthorized data scraping. Facebook, Inc. v. Power

25   Ventures, Inc., 252 F. Supp. 3d 765, 785 (N.D. Cal. 2017); Facebook, Inc. v. Sluchevsky, 2020 WL

26   5823277, at *7 (N.D. Cal. Aug. 28, 2020) (public interest supports permanent injunction against

27   unauthorized data scraping). These prohibitions protect individuals’ privacy interests, the security

28   of Meta’s platforms, and the proprietary interests of users who advertise on Meta’s platforms. See



     Case No. 3:20-cv-07182-JCS                       23                  META’S OPP. TO DEFS.’ MOT.
                                                                          FOR PARTIAL SUMM. J.
             Case 3:20-cv-07182-JCS Document 303 Filed 04/01/22 Page 32 of 42


 1   supra pp. 15-16. BrandTotal “points to no authority in which a court has held that contractual

 2   provisions similar to the one[] at issue, despite [its] longevity and relative ubiquity, [is]

 3   unenforceable on the ground that [it is] unconscionable.” Epic Games, Inc. v. Apple Inc., 2021 WL

 4   4128925, at *123 (N.D. Cal. Sept. 10, 2021). And it points to no other evidence or authority that

 5   could support a conclusion that Section 3.2.3—a term that promotes the public interest—“shocks

 6   the conscience.”

 7          BrandTotal’s argument also fails on its own terms for two reasons. First, BrandTotal argues

 8   it is “grossly one-sided and unfair,” Mot. at 32-33, for Facebook to prohibit former users from

 9   scraping data from its platform while limiting its own liability. But even if that were right (it is

10   not), it would mean, at most, that Section 3.2.3 could not apply to former Facebook users. See Mot.

11   33, n.18. That would not entitle BrandTotal to summary judgment on Meta’s breach of contract

12   claim because BrandTotal still has active accounts. Ex. 19 (Vardi Feb. 20, 2022 Dep. Tr.) at

13   102:13-21; 143:22-144:1; 145:10-16; see also Ex. 34 (March 11, 2022 Karve Decl.) ¶¶ 11-15

14   (identifying active BrandTotal accounts).

15          Second, these provisions are not so harsh or so one-sided as to shock the conscience

16   whether considered individually or collectively. BrandTotal’s own terms include a survival clause

17   and limit its liability for damages. See Ex. 12 (BrandTotal, Terms and Conditions,

18   https://privacy.brandtotal.com/service_terms.pdf (Sections 8, 10.4)). And Meta’s survival clause

19   is a critical enforcement tool against repeat violators of Section 3.2.3. For example, the survival

20   clause makes unequivocally clear that Meta can take enforcement action against an unauthorized

21   scraper by terminating their accounts while still retaining the ability to sue to enjoin the scraper

22   under the contract if its scraping nonetheless continues even after the accounts have been

23   terminated. As for the limitation of liability clause, courts have routinely held that such clauses are

24   not unconscionable, particularly where, as here, the defendant allows for some recovery. See, e.g.,

25   Bass v. Facebook, Inc., 394 F. Supp. 3d 1024, 1037-1038 (N.D. Cal. 2019); Huynh v. Quora, Inc.,

26   2019 WL 11502875, at *11 (N.D. Cal. Dec. 19, 2019); Simulados Software, Ltd. v. Photon Infotech

27   Private, Ltd., 40 F. Supp. 3d 1191, 1199 (N.D. Cal. 2014); see also Food Safety Net Servs. v. Eco

28   Safe Sys. USA, Inc., 209 Cal. App. 4th 1118, 1126 (2012) (limitation of liability provisions “have



     Case No. 3:20-cv-07182-JCS                        24                  META’S OPP. TO DEFS.’ MOT.
                                                                           FOR PARTIAL SUMM. J.
             Case 3:20-cv-07182-JCS Document 303 Filed 04/01/22 Page 33 of 42


 1   long been recognized as valid in California”). BrandTotal offers no cases, evidence, or authority

 2   indicating that either term is “so one-sided as to ‘shock the conscience.’” Ferguson v. Countrywide

 3   Credit Indus., Inc., 298 F.3d 778, 784 (9th Cir. 2002). Nor are the terms, considered in

 4   combination, “unfairly one-sided.” There is nothing “unfair” or conscience-shocking about Meta

 5   capping its damages liability while preserving its ability to take action against companies like

 6   BrandTotal to protect the integrity of its platform. 9 And finally, BrandTotal cannot, after having

 7   enjoyed the full benefits of its bargain with Meta, turn around and claim that the agreement was

 8   unfairly one-sided. See, e.g., Lanigan, 199 Cal. App. 4th at 1036 (holding that agreement was not

 9   substantively unconscionable where defendant provided plaintiff with benefits and plaintiff, in

10   fact, received the full benefit of the bargain).

11          C.      Unconscionability Of Section 3.2.3 Is Not A Defense To Meta’s Tortious
                    Interference Claim
12

13          Finally, as with its public policy defense, BrandTotal contends that the doctrine of

14   unconscionability also entitles it to summary judgment on Meta’s tortious interference with

15   contract claim “to the extent” that claim is “based on violation of” Section 3.2.3. Mot. at 1. As an

16   initial matter, that argument is also waived. BrandTotal did not identify unconscionability as an

17   affirmative defense in response to Meta’s interrogatory seeking the basis for BrandTotal’s

18   contention that it did not intentionally interfere with the contracts between Meta and its users. See

19   Ex. 28 (Oct. 21, 2021 Response to Meta Interrogatories) at 14-15. But even if the defense were not

20   waived, BrandTotal’s unconscionability defense would not be sufficient to grant summary

21   judgment on Meta’s tortious interference claim for the same reasons that its public policy defense

22   would not be sufficient to grant summary judgment on that claim. See supra p. 17.

23

24

25   9 BrandTotal does not purport to seek invalidation of the survival clause or the limitation-of-

26   liability clause. But if it were to make that argument, it should be rejected. For all the reasons
     discussed above, those terms are not unconscionable. And, in any event, BrandTotal would not be
27   entitled to summary judgment on Meta’s breach of contract claim if they were. The survival clause
     is unnecessary to Meta’s breach of contract claim because BrandTotal still has operable accounts.
28   See Dkt. 272 (Meta’s Mot. for Summ. J.) at 12-13. And the limitation-of-liability provision is
     indisputably not at issue here.


     Case No. 3:20-cv-07182-JCS                         25                META’S OPP. TO DEFS.’ MOT.
                                                                          FOR PARTIAL SUMM. J.
             Case 3:20-cv-07182-JCS Document 303 Filed 04/01/22 Page 34 of 42


 1   III.   BRANDTOTAL IS NOT ENTITLED TO SUMMARY J UDGMENT UNDER THE CFAA AND
            CDAFA WITH RESPECT TO UPVOICE 2021 AND ONGOING SERVER-SIDE COLLECTION
 2

 3          BrandTotal does not dispute that Meta revoked its authorization to access Meta’s

 4   computers as of October 1, 2020. See Ex. 28 (Oct. 21, 2021 Response to Meta’s Interrogatories)

 5   at 12-14. It nonetheless contends that it is entitled to summary judgment on Meta’s CFAA and

 6   CDAFA claims with respect to two (and only two) of its collection technologies that rely on

 7   accessing Meta’s computers to scrape data: UpVoice 2021 and its ongoing server-side collection.

 8   BrandTotal’s arguments, however, ignore facts contrary to its position here and rely on vacated

 9   authority. BrandTotal has not, therefore, shown that it is entitled to judgment as a matter of law

10   and its motion should be denied as to Meta’s claims under the CFAA and CDAFA.

11          A.      UpVoice 2021 Accesses Meta’s Computers

12          BrandTotal seeks summary judgment on Meta’s CFAA and CDAFA claims as to UpVoice

13   2021 on only one ground: that UpVoice 2021 does not “access” Meta’s computers, as is required

14   for liability under the CFAA and CDAFA. See Mot. 33-34; see also 18 U.S.C. § 1030(a)(2); Cal.

15   Penal Code § 502(c). Instead, BrandTotal contends, UpVoice 2021 accesses only a “panelist’s

16   computer.” Mot. 34. BrandTotal is wrong on both the facts and the law and its motion should

17   therefore be denied.

18          First, on the facts, BrandTotal simply ignores contrary and uncontested evidence in the

19   record that plainly establishes that BrandTotal continued to access Meta computers after

20   revocation. Accessing a panelist’s computer might be part of the method by which UpVoice 2021

21   collects data, but it is not the only part. According to BrandTotal’s own witnesses, UpVoice 2021

22   also inserts itself in communications between Meta’s computers and panelists’ computers,

23   “listening to network data being transmitted over the wire” from Meta’s computers, Ex. 35

24   (Sherwood Rebuttal Rep.) ¶ 90, and “pars[ing] different elements” from “Facebook’s social feed,”

25   Ex. 36 (Dor March 10, 2021 Dep. Tr.) at 44:14-45:11. UpVoice 2021 thus accesses Meta’s

26   computers within the meaning of the CFAA and CDAFA by “communicat[ing] with” Meta’s

27   computers. United States v. Nosal, 930 F. Supp. 2d 1051, 1063 (N.D. Cal. 2013). It is therefore

28   Meta, not BrandTotal, that is entitled to summary judgment.



     Case No. 3:20-cv-07182-JCS                     26                  META’S OPP. TO DEFS.’ MOT.
                                                                        FOR PARTIAL SUMM. J.
             Case 3:20-cv-07182-JCS Document 303 Filed 04/01/22 Page 35 of 42


 1          Second, on the law, the Ninth Circuit has made clear that a company cannot evade Meta’s

 2   revocation of authorization by simply “enlisting [ ] a third party to aid in [its] access.” Facebook

 3   Inc. v. Power Ventures, Inc., 844 F.3d 1058, 1067 (9th Cir. 2016). “[O]nce authorization has been

 4   affirmatively revoked, [a defendant] cannot sidestep the statute by going through the back door

 5   and accessing the computer through a third party.” United States v. Nosal, 844 F.3d 1024, 1028

 6   (9th Cir. 2016). That is precisely what BrandTotal does through UpVoice 2021. BrandTotal

 7   employs proxies, namely users of UpVoice 2021, who log in to Facebook and access Meta’s

 8   computer to allow BrandTotal to scrape data. Ex. 36 (Dor March 10, 2021 Dep. Tr.) at 18:24-

 9   21:18; Ex. 37 (Sherwood Feb. 17, 2022 Dep. Tr.) at 113:17-114:8. In short, UpVoice 2021 is a

10   tool designed by BrandTotal for the express purpose of accessing Meta’s computers through

11   panelists and “re-collect[ing] ad-related data from Facebook,” Ex. 36 (Dor March 10, 2021 Dep.

12   Tr.) at 27:7-14, without any authorization from Meta and after Meta took legal and technical

13   measures to revoke BrandTotal’s access. To contend that BrandTotal does not access Meta’s

14   computers through UpVoice 2021 within the meaning of the CFAA and CDAFA is thus a fiction.

15          B.      BrandTotal’s Server-Side Collection Violates The CFAA And CDAFA

16          BrandTotal does not dispute that its ongoing (and unauthorized) server-side collection both

17   accesses and obtains information from Meta’s computers, post-revocation. That is enough for

18   liability. BrandTotal’s only argument as to why that does not violate the CFAA and CDAFA is

19   that its “ongoing server-side collection is strictly limited to accessing public URLs that do not

20   require a username or password to access.” Mot. 34. Here, again, BrandTotal is wrong on both the

21   law and the facts. Liability under the CFAA and CDAFA turns on whether a defendant accesses

22   computers without authorization, not on whether it accesses password-protected locations. And

23   because it is undisputed that BrandTotal has continued to use its server-side collection technique

24   to access Meta’s computers after Meta revoked authorization, it is Meta, not BrandTotal, that is

25   entitled to summary judgment as to BrandTotal’s current server-side collection operation. See Dkt.

26   272 (Meta’s Mot. for Summ. J.) at 16-18. Regardless, even if BrandTotal were correct that CFAA

27   and CDAFA liability depends on accessing password-protected locations, that would still not

28   entitle BrandTotal to summary judgment. That is because in contending that its ongoing server-



     Case No. 3:20-cv-07182-JCS                      27                  META’S OPP. TO DEFS.’ MOT.
                                                                         FOR PARTIAL SUMM. J.
             Case 3:20-cv-07182-JCS Document 303 Filed 04/01/22 Page 36 of 42


 1   side collection does not access password-protected locations, BrandTotal ignores contrary

 2   evidence, and so, at the very least, its motion must be denied.

 3                  1.      The CFAA And CDAFA Protect All Information, Not Just Password-
                            Protected Information
 4

 5          BrandTotal misstates the law in arguing that it can evade liability under the CFAA and

 6   CDAFA by accessing and obtaining information only from non-password-protected locations on

 7   Meta’s computers. To support its argument, BrandTotal relies exclusively on hiQ Labs, Inc. v.

 8   LinkedIn Corp., 938 F.3d 985 (9th Cir. 2019), which has been vacated by the Supreme Court and

 9   remanded for reconsideration in light of Van Buren, see 141 S. Ct. 2752 (2021) (Mem.). And the

10   Ninth Circuit’s reasoning in hiQ cannot be squared with the Supreme Court’s decision in Van

11   Buren for two reasons.

12          First, the Supreme Court instructed that the CFAA applies “to all information”—not just

13   password-protected information—“from all computers that connect to the Internet.” Van Buren v.

14   United States, 141 S. Ct. 1648, 1652 (2021) (emphasis added). Because BrandTotal’s ongoing

15   server-side collection indisputably accesses and obtains information from Meta’s computers,

16   which are connected to the Internet, it violates the CFAA.

17          Second, Van Buren rejected the tripartite view of the Internet relied upon in hiQ. In hiQ,

18   the Ninth Circuit reasoned that the Internet consists of “(1) information for which access is open

19   to the general public and permission is not required, (2) information for which authorization is

20   required and has been given, and (3) information for which authorization is required and has not

21   been given.” 938 F.3d at 1001. As to the first category, the Ninth Circuit reasoned that “the concept

22   of ‘without authorization’ is inapt.” Id. at 1002. But as Van Buren explains, the Internet—at least

23   for CFAA purposes—is binary: authorization under the CFAA turns on a “gates-up-or-down

24   inquiry—one either can or cannot access a computer system.” 141 S. Ct. at 1658. Thus, while the

25   gates to non-password protected locations may presumptively be up and access therefore

26   presumptively authorized, “[i]mplicit in the definition of authorization is the notion that someone,

27   including an entity, can … revoke that permission.” Nosal, 844 F.3d at 1035. Even as to non-

28   password protected locations, therefore, the gates can be lowered and permission to access revoked



     Case No. 3:20-cv-07182-JCS                       28                  META’S OPP. TO DEFS.’ MOT.
                                                                          FOR PARTIAL SUMM. J.
Case 3:20-cv-07182-JCS Document 303 Filed 04/01/22 Page 37 of 42
Case 3:20-cv-07182-JCS Document 303 Filed 04/01/22 Page 38 of 42
             Case 3:20-cv-07182-JCS Document 303 Filed 04/01/22 Page 39 of 42


 1                                             .*     *       *

 2          In sum, because the undisputed facts show that both UpVoice 2021 and BrandTotal’s

 3   ongoing server-side collection access and obtain information from Meta’s computers within the

 4   meaning of the CFAA and CDAFA—and have continued to do so long after Meta expressly

 5   revoked BrandTotal’s permission to access—it is Meta, not BrandTotal, that is entitled to summary

 6   judgment on these claims. But at the very least, BrandTotal’s motion for judgment on Meta’s

 7   claims under the CFAA and CDAFA as to UpVoice 2021 and BrandTotal’s current server-side

 8   collection operation should be denied because BrandTotal’s arguments—that UpVoice 2021 does

 9   not access Meta’s computers and that its ongoing server-side collection accesses only public

10   webpages—ignore contrary evidence and BrandTotal has thus not shown that it is entitled to

11   judgment as a matter of law.

12   IV.    BRANDTOTAL IS NOT ENTITLED TO SUMMARY J UDGMENT ON META’S UCL CLAIM
            AS TO UPVOICE 2021
13

14          BrandTotal contends that UpVoice 2021 does not violate the UCL because “BrandTotal

15   removed the language purportedly suggesting an affiliation with Facebook months before the

16   launch of UpVoice 2021.” Mot. 35. That argument fails for two reasons.

17          A.      BrandTotal Is Not Entitled To Judgment Regarding Its “Participating Site”
                    Misrepresentation
18

19          First, BrandTotal cannot evade liability on the basis that it has stopped falsely stating that

20   Facebook was a “participating site.” Removing a deceptive statement does not preclude UCL

21   liability. See Williams v. Gerber Prods. Co., 552 F.3d 934, 936 n.2 938-940 (9th Cir. 2008)

22   (holding that plaintiffs stated a claim that statements removed from products’ labeling after

23   initiation of litigation were deceptive). Because BrandTotal has not presented any evidence

24   showing the “participating site” statement was not likely to deceive a reasonable person nor

25   otherwise shown that Meta will be unable to carry its ultimate burden at trial, BrandTotal has not

26   met its burden and is not entitled to summary judgment on Meta’s UCL claim. See Nissan Fire &

27   Marine Ins. Co. v. Fritz Cos., 210 F.3d 1099, 1102 (9th Cir. 2000).

28



     Case No. 3:20-cv-07182-JCS                      31                  META’S OPP. TO DEFS.’ MOT.
                                                                         FOR PARTIAL SUMM. J.
Case 3:20-cv-07182-JCS Document 303 Filed 04/01/22 Page 40 of 42
             Case 3:20-cv-07182-JCS Document 303 Filed 04/01/22 Page 41 of 42


 1   at least a dispute of fact as to whether BrandTotal practices were “likely to deceive” a reasonable

 2   person, Hadley v. Kellogg Sales Co., 273 F. Supp. 3d 1052, 1063 (N.D. Cal. 2017).

 3          Second, Meta has also alleged that BrandTotal has violated the unlawful prong of the UCL

 4   by violating the CFAA and CDAFA. See Dkt. 148 ¶ 124. The undisputed evidence shows that

 5   BrandTotal has violated the CFAA and CDAFA. See Dkt. 272 (Meta’s Mot. for Summ. J.) at 16-

 6   22. BrandTotal is not entitled to summary judgment on Meta’s claim under the unlawful prong of

 7   the UCL. Meta is.

 8                                           CONCLUSION

 9          For all of these reasons, the Court should deny BrandTotal’s motion for partial summary

10   judgment with respect to Counts 1-6 of Meta’s First Amended Complaint.

11

12

13    Dated: April 1, 2022                                Respectfully submitted,
14
                                                          /s/ Sonal N. Mehta
15
      ARI HOLTZBLATT (pro hac vice)                       WILMER CUTLER PICKERING
16    Ari.Holtzblatt@wilmerhale.com                        HALE AND DORR LLP
      ALLISON SCHULTZ (pro hac vice)                      SONAL N. MEHTA (SBN 222086)
17
      Allison.Schultz@wilmerhale.com                      Sonal.Mehta@wilmerhale.com
18    ROBIN C. BURRELL (pro hac vice)                     2600 El Camino Real, Suite 400
      robin.burrell@wilmerhale.com                        Palo Alto, California 94306
19    1875 Pennsylvania Ave, NW                           Telephone: (650) 858-6000
      Washington, DC 20006                                Facsimile: (650) 858-6100
20    Telephone: (202) 663-6000
      Facsimile: (202) 663-6363                           ANDY R. O’LAUGHLIN (pro hac vice)
21
                                                          andy.olaughlin@wilmerhale.com
22    Attorneys for Plaintiff/Counterclaim Defendant      60 State Street
      Meta Platforms, Inc.                                Boston, MA 02109
23                                                        Telephone: (617) 526-6220
                                                          Facsimile: (617) 526-5000
24
                                                          CINDY PAN (pro hac vice)
25
                                                          cindy.pan@wilmerhale.com
26                                                        250 Greenwich Street
                                                          New York, NY 10007
27                                                        Telephone: (212) 937-7275
                                                          Facsimile: (212) 230-8888
28



     Case No. 3:20-cv-07182-JCS                      33                 META’S OPP. TO DEFS.’ MOT.
                                                                        FOR PARTIAL SUMM. J.
             Case 3:20-cv-07182-JCS Document 303 Filed 04/01/22 Page 42 of 42


 1                                  CERTIFICATE OF SERVICE

 2          I hereby certify that on April 1, 2022 electronically filed the above document with the

 3   Clerk of the Court using CM/ECF which will send electronic notification of such filing to all

 4   registered counsel.

 5

 6

 7    Dated: April 1, 2022                               By: Sonal N. Mehta
                                                             Sonal N. Mehta
 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28



     Case No. 3:20-cv-07182-JCS                     34                 META’S OPP. TO DEFS.’ MOT.
                                                                       FOR PARTIAL SUMM. J.
